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                                                                          FILED IN OPEN COURT
                                                                             U.S.D.C. Atlanta
                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA                             OCT 0 5 2012
                                                                            JA~E~ NJlAJT~C?'yY
                                 ATLANTA DIVISION

                                                                            By. tbp't~ ~eputy~rk
 UNITED STATES OF AMERICA,
                       Plaintiff,
 vs.                                                   CASE NO. 1:12-CR-323
 EDWARD K. KIM,
                      Defendant.

                            ORDER APPOINTING COUNSEL

                                        Matt Dodge

       The above-named defendant has testified under oath or has filed with the Court

an affidavit of financial status and hereby satisfied this Court that he or she is financially

unable to employ counsel.

       Accordingly, the FEDERAL DEFENDER PROGRAM, INC., is hereby appointed

to represent this defendant in the above-captioned case unless relieved by an Order of

this Court or by Order of the Court of Appeals.

       Dated at Atlanta, Georgia this 4th day of October, 2012.




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                                           ~I~ED STATES MAGI~ JUDGE
